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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           COLUMBUS DIVISION

B.A.M.E.,                                :
                                         :
                    Petitioner,          :
                                         :
v.                                       :      Case No. 4:24-cv-193-CDL-AGH
                                         :             28 U.S.C. § 2241
Warden, STEWART DETENTION                :
CENTER,                                  :
                                         :
                  Respondent.            :
_________________________________

                                        ORDER

      On January 8, 2025, Respondent filed a Motion to Dismiss Petitioner’s

application for habeas relief (ECF Nos. 4, 1). Under the procedures and policies of

this Court, motions to dismiss are normally decided on briefs. The Court considers

the pleadings and the petition in deciding whether dismissal is appropriate. The

parties may submit their argument to this Court by filing briefs in support of or briefs

in opposition to said motions. Petitioner should respond to Respondent’s Motion to

Dismiss in accordance with this Order.

      The law provides that the party against whom dismissal is sought must be

given ten (10) days’ notice of the dismissal rules. In addition, the party upon whom

a motion to dismiss has been filed has the right to file a brief in opposition to a motion

to dismiss. If he fails to file a brief in opposition to the motion to dismiss, a final

judgment may be rendered against him if otherwise appropriate under law.
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      FAILURE OF PETITIONER TO RESPOND TO AND REBUT THE

LEGAL ARGUMENTS SET FORTH IN RESPONDENT’S BRIEF MAY

RESULT IN SAID STATEMENTS BEING ACCEPTED AS UNCONTESTED

AND CORRECT.

      The Court could grant judgment to Respondent and there would be no hearing

or further proceedings regarding this case. Accordingly, Petitioner is notified of his

right to file a response to Respondent’s Motion to Dismiss. Any such response should

be filed within thirty (30) days of the date of this Order. Thereafter, the Court will

consider Respondent’s Motion to Dismiss and any opposition to same filed by

Petitioner and issue its ruling thereon.

      SO ORDERED, this 8th day of January, 2025.

                                           s/ Amelia G. Helmick
                                           UNITED STATES MAGISTRATE JUDGE




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